      Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 1 of 11



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14
15                       IN THE UNITED STATES DISTRICT COURT
16                             FOR THE DISTRICT OF ARIZONA
17
     United States of America,                           CR-18-00422-PHX-SPL (BSB)
18
19                        Plaintiff,
              vs.                                       UNITED STATES’ NOTICE OF
20                                                         EXPERT WITNESSES
21   Michael Lacey, et al.,
22
                          Defendants.
23
24         Pursuant to Rules 702, 703, 704 and 705, Fed. R. Evid., the following witnesses
25   may give testimony that might be construed as falling within the purview of these rules of
26   evidence. Through discovery and subsequent disclosures, specific reports and analyses
27   have been or will be directed to defense counsel regarding the specific nature of the
28   expected testimony, if any, to be given by these individuals. To the extent not previously
      Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 2 of 11




 1   disclosed in discovery, subsequent disclosures to defense counsel will isolate the reports,
 2   analyses, summaries and other findings associated with any potential expert testimony.
 3   This notice is meant merely as a broader initial overview of the individuals and subjects
 4   the government may seek to present evidence of by way of expert testimony.
 5
        1. J. Patrick Cullen, Special Agent, Federal Bureau of Investigations and Mathew
 6         Frost, Information Technology Specialist Forensic Examiner (“ITS-FE”)
 7          Special Agent Cullen and Mr. Frost will testify as to how the computer evidence
 8   and electronic data were downloaded for analysis. Special Agent Cullen and Mr. Frost
 9   were responsible for acquiring and analyzing certain computer evidence from servers and
10   devices obtained from Backpage.com and also personal digital devices obtained from some
11   of the Defendants. They will testify as to the forensic protocols and tools they implemented
12   to analyze the hard drives and other electronic devices. Their curricula vitae are attached
13   as Exhibits A & B.
14
        2. Quoc Thai, Special Agent, Internal Revenue Service: Financial Analyst and
15         Virtual Currency Expert
16          Special Agent Thai is a financial analyst, expert in virtual currency, and special
17   agent with the Internal Revenue Service, Criminal Investigation Division. Special Agent
18   Thai will testify about (1) the financial structure of Backpage and its various corporate
19   entities and (2) Backpage’s use of various payment systems to include virtual currency.
20          Special Agent Thai will explain the how the financial records show the flow of funds
21   to and from various entities and financial institutions over the past decade, and how the
22   funds were expended and transferred from Backpage accounts domestically and
23   internationally.   Special Agent Thai will also testify about: (1) centralized and
24   decentralized virtual currencies (i.e., bitcoin, bitcoin cash); (2) the sale or exchange of
25   virtual currencies; (3) the use of virtual currencies to pay for goods or services: (4) the
26   anonymity the use of virtual currency provides; (5) the mechanics of transferring virtual
27   currency from wallet to wallet or person to person; (6) the identification of origination and
28   destination addresses through analysis of the blockchain code; (7) the price fluctuation over

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      Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 3 of 11




 1   time of virtual currency, and the conversion and exchange of virtual currency to a “fiat
 2   money system” or “fiat currency system” or simply put, regular currency. Special Agent
 3   Thai will explain Backpage’s use of virtual currency and how the money flowed through
 4   its various domestic and international entities. Additionally, Special Agent Thai will
 5   explain Backpage’s use of third party payment processors, who processed and received
 6   customer payments originating from virtual currency payments, credit card payments,
 7   check & money order payments, and gift card payments. Special Agent Thai will further
 8   explain how these payments flo from purchasers of Backpage advertisements and follow
 9   their flow to the accounts and purchase of assets by Backpage and Backpage officers and
10   owners.
11          Special Agent Thai’s opinion will be based on his education, training, and
12   experience as a Special Agent. The financial records and documents underlying Special
13   Agent Thai’s testimony has been provided to the defense in discovery; the summary
14   analyses will be provided through supplemental disclosures.          Special Agent Thai’s
15   curriculum vitae is attached as Exhibit C.
16
        3. Donald Ellsworth, Special Agent, Internal Revenue Service: Virtual Currency
17         Expert
18          Special Agent Donald Ellsworth will testify about virtual currency, encrypted
19   communications, Bank Secrecy Act requirements, and undercover operations involving
20   virtual currency. Special Agent Ellsworth will testify about: (1) how the movement of
21   legal and illegal proceeds in the form of bitcoin or other forms of virtual currency can be
22   applied to federal money laundering statutes and bank secrecy laws; (2) how bitcoin and
23   other forms of virtual currency can be obtained and used to pay for goods or services; and
24   (3) the anonymity provided with the use of virtual currency.
25          Special Agent Ellsworth will also testify about virtual currency in general, how it is
26   acquired, exchanged, used to purchased goods or services; how transactions can be traced
27   through analysis of the blockchain code; and the value of virtual currency and how it is
28   converted and exchanged into a fiat money system, or regular currency. Special Agent

                                                  -3-
      Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 4 of 11




 1   Ellsworth’s opinion will be based on his education, training, and experience as a Special
 2   Agent; including the courses and seminars has attended and taught through his work with
 3   the IRS. Special Agent Ellsworth curriculum vitae is attached as Exhibit D.
 4
        4. Detective Christina Decouflé, Phoenix Police Department: Human Trafficking
 5         Expert
 6          Detective Decouflé will provide testimony at trial about how human trafficking,
 7   with a focus on sex trafficking occurs, and how it occurs through online media, such as
 8   social networking websites, applications, and the internet in general. Detective Decouflé
 9   has been a law enforcement officer with the Phoenix Police Department since 2000. In
10   2005, she became a detective in the Vice Enforcement Unit. In 2013, Detective Decouflé
11   became a member of the Federal Bureau of Investigation, Human Trafficking Task Force,
12   Phoenix Division. The Ninth Circuit has affirmed the expert testimony of Detective
13   Decouflé in the area of human trafficking and this court should permit Detective Decouflé
14   to testify as to her expert opinions here. See United States v. Brooks, 610 F.3d 1186, 1195-
15   96 (9th Cir. 2010).1
16          Detective Decouflé will describe how sex trafficking and prosecution industries
17   have changed with the advent of the internet, including websites such as
18   www.craigslist.com, www.backpage.com, and others. Detective Decouflé will describe
19   how law enforcement conducts human trafficking investigations; with a focus on how
20   investigations shifted from craigslist.com to backpage.com. She will testify about her
21   knowledge of The Erotic Review (TER), it’s owner David Elms, and TER’s connection to
22   websites such as craigslist.com and backpage.com. Detective Decouflé will describe how
23   she posted advertisements on online websites like craigslist.com and backpage.com
24   advertising herself (undercover) as seller of commercial sex. She will compare and
25   contrast how different prostitution websites (including craigslist and backpage) operated
26
27
            1
28           At the time of Detective Decouflé’s testimony in United States v. Brooks she went
     by the surname Hein. In between, she also went by the surname Bill.
                                                -4-
      Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 5 of 11




 1   and how they responded to law enforcement. She will also testify about descriptors and
 2   definitions of terms often used in sex trafficking and the prostitution industry, such as
 3   “trick,” “John,” “pimp,” “the game,” “dates,” “choosing up,” as examples.           Lastly,
 4   Detective Decouflé will discuss the relationship between sex traffickers and pimps and
 5   their victims. She will describe the methods and process traffickers and pimps utilize to
 6   entice, coerce, or control their victims.
 7          The bases and reasons for the opinions summarized above centers around Detective
 8   Decouflé’s extensive experience conducting sex trafficking investigation.        Detective
 9   Decouflé has an extensive experience interviewing prostitutes, pimps, and individuals who
10   solicit commercial sex and has herself has engaged in numerous investigations requiring
11   knowledge of the methods that sex traffickers and pimps utilize, whether through online
12   media or through face-to-face contact, to recruit women into prostitution. Detective
13   Decouflé has interviewed hundreds of victims and survivors, which enables her to
14   understand the particular language and methods utilized in the prostitution industry.
15          Detective Decouflé’s curriculum vitae is attached as Exhibit E. The government
16   will also separately provide the defense with copies of transcripts where Detective
17   Decouflé has testified in both state and federal court, as an expert in the area of human
18   trafficking.
19
        5. Dominique E. Roe-Sepowitz, M.S.W., Ph.D.: Sex Trafficking Expert
20
            Dr. Roe-Sepowitz is expected to testify as a fact witness in this matter, regarding
21
     her interactions with Backpage, the National Center of Missing and Exploited Children
22
     (NCMEC), human sex trafficking prevention and outreach groups in relation to Backpage
23
     related prostitution advertising, as well as Backpage related interactions with state and
24
     federal law enforcement. In an abundance of caution, however, the government provides
25
     notice identifying Dr. Roe-Sepowitz as a potential “expert” in the area of human
26
     trafficking, specifically, sex trafficking.
27
28

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      Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 6 of 11




 1          Dr. Roe-Sepowitz is an Associate Professor in the School of Social Work at Arizona
 2   State University. She is the director of the Office of Sex Trafficking Intervention Research
 3   at Arizona State University. Dr. Roe-Sepowitz’s area of specialty and expertise is in
 4   human sex trafficking with juveniles and adults, with an aim on prevention and awareness,
 5   intervention and treatment.
 6          Dr. Roe-Sepowitz can testify about her research in the area of human sex trafficking.
 7   Specifically and recently, Dr. Roe-Sepowitz participated in (1) a six year analysis of sex
 8   trafficking of minors: exploring characteristics and sex trafficking patterns; (2) a Las Vegas
 9   based study on how violence is often tied to teen sex trafficking; and (3) a Hawaii based
10   study exploring online sex buyers in Hawaii. Dr. Roe-Sepowitz has also researched the
11   impact the Super Bowl had on sex trafficking. Dr. Roe-Sepowitz’s research can be found
12   at https://socialwork.asu.edu/stir/research. While the government intends for Dr. Roe-
13   Sepowitz to testify as a fact witness at trial, her education, training, and experience, could
14   lead one to believe that she is an expert in the area of human sex trafficking.
15          Dr. Roe-Sepowitz’s curriculum vitae is attached as Exhibit F. The government will
16   also separately provide the defense with copies of several articles Dr. Roe-Sepowitz has
17   authored or co-authored, in the area of human trafficking, which will further explain the
18   nature, breadth and foundation of her testimony.
19
        6. Sharon W. Cooper, M.D.: Sex Trafficking Expert
20
            Dr. Cooper will testify about (1) how a victim can fall into the world of sex
21
     trafficking, through the grooming process, force, or abduction, etc. and why certain victims
22
     may be targeted; (2) the harmful, lasting impact sex trafficking can have on its victims,
23
     primarily child victims; (3) the relationship and loyalty a child sex trafficking victim may
24
     have and show towards her trafficker; (4) common ways a sex trafficker can use force,
25
     fraud, and coercion to maintain control over his victims; (5) reasons why child sex
26
     trafficking is cited as the most underreported form of child abuse; and (6) the role Backpage
27
     played in the victimization of her patients and clients.
28

                                                 -6-
      Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 7 of 11




 1          Dr. Cooper is a developmental and forensic pediatrician who evaluates and treats
 2   children who have been victims of all forms of abuse, with a primary area of expertise in
 3   sexual exploitation. She is a member of the Board of Directors for the National Center for
 4   Missing and Exploited Children and a retired Colonel with the United States Armed Forces.
 5   Dr. Cooper has testified before the United States Congress, the Russian Parliament, the
 6   Italian Senate and the European Commission on child sexual exploitation. She has also
 7   testified as an expert medical witness in over two dozen federal trials. Dr. Cooper is
 8   familiar with how victims were trafficked on Backpage and her opinions will be based on
 9   her education, training, and her clinical and forensic experiences treating victims of sex
10   trafficking. Dr. Cooper’s curriculum vitae is attached as Exhibit G.
11      7. James E. Hardie, Supervisory Special Agent, Federal Bureau of Investigation:
12         Human Trafficking Expert
13          Supervisory Special Agent James E. Hardie will testify about (1) terminology

14   commonly used in the sex trafficking, such as pimp, “bottom bitch,” MOB (money over

15   bitches), “date,”, “roses” (money), “the game”, etc.; (2) common dynamics between sex

16   traffickers and their victims and how a trafficker may use drugs, force, fraud, and coercion

17   to maintain control over their victims; (3) how human trafficking takes place in our

18   communities from a law enforcement prospective; and (4) the role the internet and

19   Backpage played in his knowledge and understanding of human trafficking and how

20   Backpage became part of the law enforcement investigations for human trafficking over

21   the years.

22          Supervisory Special Agent Hardie began investigating sex trafficking cases

23   involving both minor and adult victims in 2008, which has resulted in his experience in

24   interviewing hundreds of victims and witnesses and two dozen pimps or traffickers. From

25   2008 – 2013, Agent Hardie served as the coordinator of the FBI’s Violent Crimes Against

26   Children Task Force in Ohio. From 2013 – 2015, he served as the FBI’s representative to

27   the National Center for Missing and Exploited Children (NCMEC), where he coordinated

28   sex trafficking reporting between NCMEC and the FBI child exploitation task forces.

                                                -7-
      Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 8 of 11




 1   Since 2011, Supervisory Special Agent Hardie has presented or provided instruction at
 2   conferences and seminars, internationally and domestically, in the area of sex trafficking.
 3          Supervisory Special Agent Hardie’s opinions are based on his training and
 4   experience in the area of human sex trafficking. Supervisory Special Agent Hardie has
 5   testified as an expert in sex trafficking in both state and federal court and has testified
 6   before the Ohio House of Representative Judiciary and Ethics Committee regarding sex
 7   trafficking matters. Supervisory Special Agent Hardie’s curriculum vitae is attached as
 8   Exhibit H.
 9
        8. Derek Stigerts, Investigator, Sacramento District Attorney’s Office: Human
10         Trafficking Expert
11          Investigator Stigerts will testify about (1) how sex trafficking occurs; (2) common
12   terminology used by individuals involved in sex trafficking; (3) the role of the internet and
13   technology in human trafficking; (4) methods of recruitment, manipulation, and control by
14   a trafficker with his victims; and (5) the role the internet and Backpage has played in human
15   trafficking.
16          Investigator Stigerts has been involved in the investigation of human trafficking
17   offenses for over a decade. Investigator Stigerts has interviewed over 300 females involved
18   in prostitution, including 80 juvenile victims, as well as over 30 suspected pimps or
19   traffickers. He has presented at instructional courses presented by NCMEC and the FBI.
20   Investigator Stigerts’ opinions are based on his training and experience in the area of
21   human sex trafficking. Investigator Stigerts has testified as an expert in sex trafficking in
22   various state and federal court all over the United States and his curriculum vitae is attached
23   as Exhibit I.
24
        9. Shannon Wolf, Ph.D., LPC-S: Human Trafficking Expert
25          Dr. Wolf will testify about the connection between trauma bonds and personal
26   identity in victims of sex trafficking and how to understand them, including ways to
27   interact with child sex trafficking victims to avoid secondary trauma, and the role Backpage
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                                                  -8-
      Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 9 of 11




 1   has played in causing trauma to victims trafficked through its website. Dr. Wolf is a
 2   licensed professional counselor with supervisory status and a Professor of Psychology and
 3   Counseling at B.H. Carroll Theological Institute. Dr. Wolf’s provides counseling and
 4   therapy to victims of sex trafficking and her current research focus is on child sex
 5   trafficking. She has previously testified as an expert in sex trafficking. Dr. Wolf’s
 6   curriculum vitae is attached as Exhibit J.
 7
        10. Staca Shehan, Executive Director Case Analysis Division, NCMEC
 8
            Ms. Shehan is a fact witness as she met on several occasions with Backpage
 9
     Defendants. Ms. Shehan is the Executive Director of the Case Analysis Division at the
10
     National Center for Missing and Exploited Children (NCMEC). As a result of her
11
     employment, Ms. Shehan’s testimony will cover topics that could be perceived as expert
12
     testimony. In an abundance of caution, the government provides notice identifying Ms.
13
     Shehan as a potential “expert” in the area of human trafficking, sex trafficking, and child
14
     exploitation.
15
            Specifically, Ms. Shehan will testify to the creation of a dedicated Child Sex
16
     Trafficking Team at NCMEC to respond to the increased need for technical assistance and
17
     analysis in cases involving child sex trafficking. These unique resources include analysis
18
     of potential suspect names or aliases, unique tattoos, link analysis about child sex
19
     trafficking victims/potential victims, telephone numbers, addresses and/or link analysis
20
     about child sex trafficking victims/potential victims, telephone numbers, addresses and/or
21
     online postings.
22
            The government reserves the right to question the expert regarding other matters
23
     that may be raised during cross-examination by Defendants, based upon testimony
24
     provided by defense experts (if any), or other witnesses and evidence introduced by
25
     Defendants. This disclosure of the government’s notice of expert witnesses also serves as
26
     the government’s request for notice of rebuttal or expert testimony by Defendants, pursuant
27
     to Rule 16 of the Federal Rules of Criminal Procedure.      The government requests the
28

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     Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 10 of 11




 1   Defendants provide the government with a written summary of testimony Defendants
 2   intend to present at trial pursuant to Federal Rules of Evidence 702, 703, and 705, and this
 3   Court’s scheduling order (CR 131.)
 4          Respectfully submitted this 14th day of December, 2018.
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 6                                             District of Arizona
 7                                             BRIAN BENCZKOWSKI
                                               Assistant Attorney General
 8                                             Criminal Division, USDOJ
 9                                             REGINALD E. JONES
                                               Senior Trial Attorney
10                                             U.S. Department of Justice, Criminal Div.
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11
                                               s/ Kevin M. Rapp_____
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     Case 2:18-cr-00422-DJH Document 422 Filed 12/14/18 Page 11 of 11




 1
                                      Certificate of Service
 2
 3          I hereby certify that on this date, December 14, 2018, I electronically transmitted
     the attached document to the Clerk’s Office using the CM/ECF system for filing and
 4   transmittal of a Notice of Electronic Filing to the following CM/ECF registrants: Paul J.
     Cambria Jr. Esq. and Erin E. McCampbell, Esq., Lipsitz Green Scime Cambria, LLC,
 5   Thomas H. Bienert, Jr., Esq., Anthony R. Bisconti, Esq., Kenneth M. Miller, Esq., and
     Whitney Bernstein, Esq., Bienart, Miller & Katzman, PLC, Mike Piccarreta, Esq., Jim
 6   Grant Esq., Davis Wright Termaine, LLP, Michael D. Kimerer, Esq. and Rhonda Elaine
     Neff, Esq., Steve Weiss Esq., Robert Corn-Revere Esq., Bruce Feder, Esq., Gary
 7   Linenberg, Esq., Ariel Neuman, Esq., Gopi K. Panchapakesan.

 8
 9   s/ Angela Schuetta
     U.S. Attorney’s Office
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